        Case 2:16-cr-00428-HB Document 229 Filed 10/29/18 Page 1 of 5



                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                            :
                                              :
             v.                               :     CRIMINAL NO. 16-428
                                              :
DAVID T. SHULICK


                     GOVERNMENT=S MOTION TO COMPEL

      On September 26, 2018, the court ordered Frederick Hamilton, an expert

witness retained by defendant David Shulick, to provide the government with a copy

of the binder of materials that he referenced during his testimony. On October 19,

2018, having not received a copy of the materials, the government requested by letter

that the court direct defendant to comply with the court’s September 26, 2018 order.

Defense counsel’s response to the government’s letter request confirms that the defense

team’s failure to produce the materials was not inadvertent—defendant and his lawyer

have apparently decided simply to ignore the court’s order. They have done so without

seeking reconsideration of the court’s order or even so much as notifying the court and

the government that they did not intend to comply. The court should not countenance

such egregious behavior.

      It is axiomatic that a party to a litigation may not unilaterally ignore an order

of the court. If defendant (or Hamilton) believed that the court’s order was erroneous

or jurisdictionally deficient, he should have, at minimum, sought reconsideration of

that order. The deadline for such a motion expired on October 10, 2018. Loc. R. Crim.


                                          1
         Case 2:16-cr-00428-HB Document 229 Filed 10/29/18 Page 2 of 5



P. 1.2 (adopting Loc. R. Civ. P. 7.1(g)).        Having failed to seek reconsideration or

appellate review, the arguments he sets forth in his letter are waived.

       The arguments that defendant sets forth in his letter are, in any event, meritless

and do not support his contention that he is entitled to ignore the court’s order.

       Defendant first argues that the fact that the government did not formally mark

the materials as exhibits at the hearing allows him to disregard the court’s order to

produce the documents. Defendant’s argument is wrong. The government questioned

the defense expert at length about the materials in the binder and referenced those

materials repeatedly.     And the expert himself relied on the materials during his

testimony. See, e.g., Sentencing Tr. 25:17-18; 174: 24-25, 176:7-177:3 (Sept. 26, 2018).

The materials are plainly part of the sentencing record, whether they were formally

marked as exhibits or not.       In any event, in order to avoid further dispute, the

government has concurrently filed a motion to supplement the record to add the binder

of materials. As a matter of fairness, the government is entitled to a copy of the

materials that the expert relied upon.

       Defendant’s second argument is that the court “lacks jurisdiction to alter its

reasoning for the judgment on appeal.” This is a red herring. The government is not

requesting that the court reconsider any of its decisions, or alter the bases thereof. The

government is simply requesting that the defendant be directed to comply with a valid

order of the court. It is “well established” that “a district court, after the entry of final

judgment and the filing of a notice of appeal, retains the power to adjudicate collateral


                                             2
           Case 2:16-cr-00428-HB Document 229 Filed 10/29/18 Page 3 of 5



matters.” In re Schaefer Salt Rec., Inc., 542 F.3d 90, 98 (3d Cir. 2008); Lauber v. Belford

High Sch., 2012 WL 12994877, at *2 n.4 (E.D. Mich. Aug. 31, 2012) (noting that it is

“well established” that “district courts retain jurisdiction, even after a notice of appeal

is filed, to enforce an order already issued prior to the filing of the notice of appeal.”);

see also N.L.R.B. v. Cincinnati Bronze, Inc., 829 F.2d 585, 588 (6th Cir. 1987). The

court has the power to require that the defendant and his team comply with the court’s

order.

         Defendant’s third and fourth arguments are that the materials were not

discoverable under Fed. R. Crim. P. 16(b)(1)(C) and Fed. R. Evid. 702.                        Again,

defendant’s argument misses the mark. Whether the materials were discoverable is

irrelevant to the defendant’s obligation to comply with the court’s September 26, 2018

order. The court’s order was indisputably a valid exercise of its discretion to ensure

that the parties to the sentencing hearing had equitable access to the materials relied

upon by the expert. 1

         Defendant’s fifth argument appears to be that the government’s request, which

occurred promptly after the expert left the stand, was too late. Defendant cites no case

law in support of this contention, and the government has found none. The court

indisputably has discretion to order the defendant to provide to the government a copy



1 To the extent that defendant suggests, without citation, that the materials were the expert’s work
product, he is incorrect. Any such claim was waived when the expert brought the materials with him
to the stand and referenced them during his testimony. United States v. Nobles, 422 U.S. 225, 239
1975) (noting that by electing to present the investigator as a witness, waived the privilege with
respect to matters covered in his testimony).

                                                 3
           Case 2:16-cr-00428-HB Document 229 Filed 10/29/18 Page 4 of 5



of the materials that he relied upon at the hearing. Upon issuance of that order, the

defendant was required to follow it. The government is simply asking that the court

direct defendant to comply with its valid order.

         In summary, the defense expert made a decision to bring with him to the stand

a set of materials that he believed supported his opinion. The defense expert then

relied on those materials throughout the hearing. At the conclusion of the expert’s

testimony, the court rightly directed the expert to provide a copy of the materials to the

government, which had requested those materials repeatedly. No one disputes the

court’s authority to issue that order. Defendant now claims that he is entitled to ignore

the court’s order.     The government respectfully requests that the court reject

defendant’s claim and direct him and Hamilton to comply with the September 26, 2018

order.


                                        Respectfully submitted,

                                        WILLIAM M. MCSWAIN
                                        United States Attorney


                                        /s/ Michael T. Donovan
                                        MICHAEL T. DONOVAN
                                        CHRISTOPHER J. MANNION
                                        Assistant United States Attorneys


Dated: October 29, 2018




                                           4
         Case 2:16-cr-00428-HB Document 229 Filed 10/29/18 Page 5 of 5


                           CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing to be served by electronic

filing on the court’s Electronic Case Filing system on:

                  Hope Lefeber, Esquire at: hope@hopelefeber.com

                        Attorney for defendant David Shulick

       I further certify that I caused a copy of the foregoing to be served by e-mail
upon

                   Frederick Hamilton at: khamilton@glassratner.com

                        Expert for defendant David Shulick



                                           /s/ Michael T. Donovan
                                         Michael T. Donovan
                                         Assistant United States Attorney


Dated: October 29, 2018




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